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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-23097-CIV-ALTONAGA/Goodman

  IMPLANT SEMINARS, INC.,

         Plaintiff,
  v.

  SAMUEL SOON HO LEE, et al.,

        Defendants.
  ______________________________/

                                                ORDER

         THIS CAUSE came before the Court on Plaintiff, Implant Seminars, Inc.’s Motion for

  Preliminary Injunction [ECF No. 9], filed August 15, 2018. Plaintiff requests the Court enter a

  preliminary injunction against Defendants, Samuel Soon Ho Lee; International Academy of

  Dental Implantology, LLC; John Doe Corporation No. 1; and John Does 1 through 3.

  (See generally Mot.).

         While a temporary restraining order may be issued without notice to the adverse party, a

  preliminary injunction is issued only after the adverse party has received notice of the requested

  relief. See Fed. R. Civ. P. 65(b)(1) (“The court may issue a temporary restraining order without

  written or oral notice to the adverse party . . . .” (alteration added)); id. 65(a)(1) (“The court may

  issue a preliminary injunction only on notice to the adverse party.”). There is no indication on

  the docket that Defendants have been served with the Verified Complaint [ECF No. 1]. The

  Verified Complaint does not certify Defendants have been served, nor have Defendants appeared

  in this action. (See generally Verified Compl.). Indeed, the Motion’s Certificate of Service is

  conspicuously silent about the Motion having been served on the Defendants. (See Mot. 19).
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  Thus, a preliminary injunction is not procedurally proper. Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiff, Implant Seminars, Inc.’s Motion for

  Preliminary Injunction [ECF No. 9] is DENIED. Plaintiff may re-file a motion for preliminary

  injunction after all Defendants have been properly served.

         DONE AND ORDERED in Miami, Florida, this 16th day of August, 2018.



                                                         __________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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